                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


 ENTROPIC COMMUNICATIONS, LLC,

               Plaintiff,
                                                             Case No. 2:23-cv-00050-JRG
        v.                                                         (LEAD CASE)
                                                             Case No. 2:23-cv-00051-JRG
 CHARTER COMMUNICATIONS, INC.,                                   (MEMBER CASE)

               Defendant.                                    JURY TRIAL DEMANDED



             STIPULATION OF DISMISSAL PURSUANT TO RULE 41(a)(1)(A)(ii)

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Entropic Communications, LLC,

(“Plaintiff”) and Defendant Charter Communications, Inc., (“Defendant”) hereby file this

Stipulation of Dismissal and dismiss the above-referenced actions with prejudice, each Party to

bear its own fees and costs. The Parties further agree that the Court shall retain exclusive and

continuing jurisdiction over the Parties and these matters for the sole purpose of enforcing the

monetary payment due under the December 10, 2023, settlement agreement between the Parties.


Dated: December 11, 2023                                   Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing document was filed electronically in

compliance with Local Rule CV-5(a) and served via email on all counsel of record on December

11, 2023.

                                                      /s/Andrea L. Fair
                                                      Andrea L. Fair




                              CERTIFICATE OF CONFERENCE

          The undersigned hereby certifies pursuant to Local Rule CV-7(i) that this stipulation is

agreed.

                                                      /s/Andrea L. Fair
                                                      Andrea L. Fair




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